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                           UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF NEW YORK

 --------------------------------------x
                                       :
 CHRISTOPHER MELLING,                  :
                                       :
                   Plaintiff,          : No. 18-Civ-3514 (ARR)
                                       :
 v.                                    :
                                       : AMENDED COMPLAINT
 HAMILTON POINT INVESTMENTS LLC,       :
                                       :
                   Defendant.          :
                                       :
 --------------------------------------x


          Plaintiff Christopher Melling, by his attorneys, Eversheds Sutherland (US) LLP, for this

 amended complaint against Hamilton Point Investments, LLC (“HPI”), alleges upon knowledge

 with respect to himself and his own acts, and upon information and belief with respect to all

 other matters, as follows:

                                   NATURE OF THE ACTION
          1.     This action seeks payment under the unambiguous terms of a written contract, as

 well as an accounting sufficient to establish the proper amount of that contractual payment.

          2.     Plaintiff Melling was engaged by Defendant HPI to market and raise capital for

 HPI’s private-equity investment funds for approximately four years, from May 2010 until April

 2014.

          3.     Mr. Melling and HPI had multiple agreements over the years setting forth his

 primary responsibilities and/or compensation in connection with three of HPI’s investment

 funds. According to those agreements, one component of Mr. Melling’s compensation in

 connection with his work for each of the three investment funds included a percentage of the



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 “gross promote”—in essence, a specified percentage of HPI’s profits from certain of its

 investment funds.

          4.    Upon his separation from HPI in 2014, Mr. Melling executed with the company a

 settlement agreement memorializing and reserving his unconditional right to specified

 percentages of HPI’s gross promote for each of the three funds.

          5.    HPI understood its obligations under the compensation and settlement

 agreements, and, for nearly four years, appeared to comply with them. With respect to the first

 two investment funds, HPI made full payment to Mr. Melling of his agreed percentage of the

 gross promote of the respective funds.

          6.    But in February 2018, when HPI made the payment relating to the final fund, Mr.

 Melling had reason to believe the amount paid was less than half what he was owed. Since HPI

 alone has access to the information needed to confirm the proper amount of the payment, Mr.

 Melling raised his concerns to HPI shortly after receipt of the payment and requested an

 accounting or further information.

          7.    At first, HPI insisted that its payment was “correct,” emphasizing that the

 computations had been very complicated, but otherwise ignored Mr. Melling’s request for proof

 of performance.

          8.    But when HPI’s lawyers got involved, HPI’s story changed. HPI then claimed

 that neither the parties’ original compensation agreement nor the parties’ settlement agreement,

 under which HPI had been performing for nearly 4 years, gave Mr. Melling any enforceable right

 of payment. HPI further claimed that any rights Mr. Melling might have had under prior

 agreements were forfeit when HPI terminated his employment. HPI asserted that its nearly




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 $400,000 payment to Mr. Melling in February 2018 had been a “discretionary bonus,” paid

 without reference to or obligation under any agreement between the parties.

          9.    HPI’s arguments are baseless and in bad faith, and Mr. Melling now asks this

 Court to enforce his clear contractual rights.

                                              PARTIES
          10.   Plaintiff Christopher Melling is an individual who resides at 1 John Street,

 Apartment 10B, Brooklyn, New York 11201.

          11.   Defendant HPI is a limited liability company incorporated under the laws of

 Delaware, with its principal offices at 2 Huntley Road, Old Lyme, Connecticut 06371.

                                  JURISDICTION AND VENUE

          12.   This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1332, 1441,

 and 1446 because the parties are completely diverse and the amount in controversy exceeds

 $75,000.

          13.   This Court has jurisdiction over the parties pursuant to Section 302(a)(1) of New

 York’s Civil Practice Law and Rules because HPI transacts business within the State of New

 York.

          14.   As set forth below, HPI has purposefully availed itself of New York’s real estate

 and investment market, including but not limited to its employment of Mr. Melling to offer and

 sell real estate securities and to raise investment funds in and from New York, and Mr. Melling’s

 claims bear a substantial nexus to HPI’s purposeful activity in New York.

          15.   Venue lies in this District pursuant to 28 U.S.C. § 2391 because Mr. Melling

 resides herein and a substantial part of the events giving rise to the claim emanated from this

 District.



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                                    STATEMENT OF FACTS
                                          The Business of HPI
          16.   HPI is a private-equity investment company that owns and manages multifamily

 apartment properties.

          17.   HPI was founded in 2010 by managing principals Matthew Sharp and J. David

 Kelsey, both veterans of the New York real estate investment and banking industries.

          18.   HPI purchases its investment properties using money raised from individual

 accredited investors across the United States, including New York, through a series of real estate

 private-equity investment funds.

          19.   The investments, which are real estate syndications, are considered securities

 under New York law and are subject to and governed by the Martin Act, Article 23-A of the

 New York General Business Law, which regulates the offer and sale of securities in or from New

 York. Upon information and belief, in accordance with the requirements of the Martin Act, HPI

 made legally required filings of its real estate syndications with the Real Estate Finance Bureau

 of the New York State Office of the Attorney General in order to be able to offer and sell the

 investments in or from New York to New York residents and others.

          20.   During the course of Mr. Melling’s employment with HPI, multiple New York

 investors bought interests in all three of the HPI funds on which Mr. Melling worked. Indeed,

 HPI raised more than $3 million from New York resident investors on the first two funds alone.

 In addition, one of the funds on which Mr. Melling worked while at HPI acquired two

 investment properties through a joint venture with a New York hedge fund that contributed

 nearly $20 million to the enterprise.

          21.   HPI has over 180 employees and has acquired properties containing over 12,000

 apartment units and valued at approximately $1.1 billion.

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                              Mr. Melling’s Work and Compensation

          22.   In or about May 2010, Mr. Melling was engaged by HPI to market and raise

 capital for HPI’s private-equity investment funds. Mr. Melling was engaged in part to take

 advantage of his contacts with investors in New York.

          23.   Mr. Melling’s initial title was Senior Vice President, Capital Markets and

 Investments. In June 2012, Mr. Melling’s title became Principal.

          24.   Mr. Melling’s employment, responsibilities, and compensation were determined

 in a series of negotiations among Mr. Melling, Mr. Sharp, and Mr. Kelsey.

          25.   These negotiations resulted in a series of term sheets and emails, sent to Mr.

 Melling by Mr. Sharp and Mr. Kelsey, memorializing Mr. Melling’s position, responsibilities,

 and compensation. True and correct copies of the term sheets are attached hereto at Exhibit A.

          26.   Mr. Melling’s key responsibilities included capital formation, business

 development, and investor relations.

          27.   Mr. Melling’s compensation included a combination of monthly cash payments,

 expense reimbursements, bonuses, and percentages of the “promotes” for the private-equity

 investment funds that Mr. Melling marketed and for which he raised funds. A sponsor’s

 “promote” or “carried interest” is the amount the sponsor of a real estate investment fund earns

 once the fund reaches a certain threshold of profits.

          28.   By email to Mr. Melling dated June 7, 2012, Mr. Kelsey confirmed that Mr.

 Melling’s carried interests in Fund I and Fund II were to be calculated from HPI’s “TOTAL

 GROSS promote,” which meant that the percentages were “NOT net of any seed investors.” A

 true and correct copy of this email is attached hereto as Exhibit B.




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          29.       During Mr. Melling’s tenure with HPI, the company launched the following three

 private-equity investment funds:

                    a.     HPI Apartment Opportunity Fund I, LLC (“Fund I”). Fund I was

                           launched in or around May 2010 and completed its cycle—meaning that

                           all fund assets were liquidated and all investor capital repaid—in or

                           around June 2015.

                    b.     HPI Apartment Opportunity Fund II, LLC (“Fund II”). Fund II launched

                           in or around September 2011 and completed its cycle in or around

                           September 2016.

                    c.     HPI Real Estate Opportunity Fund III, LLC (“Fund III”). Fund III

                           launched in or around April 2013 and completed its cycle in or around

                           February 2018.

          30.       For Fund I, and as memorialized in the term sheets, Mr. Melling’s compensation

 included “2% of promote of Fund I (up to $200,000 over 3-year life of fund).” See Exhibit A.

          31.       For Fund II, and as memorialized in the term sheets, Mr. Melling’s compensation

 originally included “4% of promote of Fund II.” Id.

          32.       As further memorialized in the term sheets, Mr. Melling’s carried interest in Fund

 II was later increased to “10% of Fund II” in combination with other changes in compensation

 and titling. Id.

          33.       For Fund III, HPI did not give Mr. Melling a term sheet. Instead, following a

 negotiation, HPI memorialized the terms of Mr. Melling’s Fund III compensation through an

 email from Mr. Sharp to Mr. Melling, copying Mr. Kelsey, dated February 1, 2014, which




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 memorialized their agreement as follows: “It was same comp as now but with 10% gross

 promote.” A true and correct copy of this email is attached hereto as Exhibit C.

          34.   At all times during Mr. Melling’s employment with HPI, he worked half of his

 time in Connecticut out of the HPI office and half of his time in New York out of his home in

 Brooklyn. Although it varied week to week, depending on the workload and type of activity at

 HPI, Mr. Melling typically worked two to three days in Connecticut and the rest of the week in

 New York.

          35.   HPI was aware of Mr. Melling’s working arrangement.

                a.     It was mutually understood by Mr. Melling and HPI that Mr. Melling

                       would try to spend half of his time in New York and half in the

                       Connecticut office.

                b.     Mr. Melling was not expected to work at the Connecticut office every day.

                c.     Mr. Melling had to lease a car to travel the 120 miles back and forth from

                       New York to Connecticut; for at least part of the time that Mr. Melling

                       was employed by HPI, HPI reimbursed the portion of the car expenses

                       related to his commute (approximately $250 of the $600 expenses per

                       month were reimbursed).

                d.     Mr. Melling also rented an apartment in Connecticut in order to cut down

                       on the time spent commuting during the days that he worked in

                       Connecticut. After two years of paying for the apartment on his own, Mr.

                       Melling requested that HPI reimburse him for the apartment as a business

                       expense. HPI agreed and the parties memorialized the agreement in




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                       August 2012. See Exhibit A. Until Mr. Melling specifically asked for

                       reimbursement in 2012, HPI never offered to pay for the apartment.

          36.   HPI actively collaborated and communicated with Mr. Melling while he was

 working out of New York on HPI’s behalf via email and telephone.

          37.   As part of his employment, Mr. Melling solicited investors for Funds I, II, and III

 from New York while working out of his New York apartment.

          38.   As part of his employment, Mr. Melling solicited investors for Funds I, II, and III

 who resided or had principal places of business in New York.

          39.   As part of his employment, Mr. Melling met with investors in New York in

 connection with Funds I, II, and III. On occasion, Mr. Melling was joined by Mr. Kelsey and

 Mr. Sharp at meetings in New York for the purpose of soliciting investors. For example, Mr.

 Kelsey and Mr. Sharp attended meetings in New York with two of the largest investors in

 Fund I, one of whom was a New York resident.

                               Mr. Melling’s Settlement Agreement

          40.   On April 2, 2014, Mr. Sharp and Mr. Kelsey gave notice to Mr. Melling

 terminating his employment with HPI, effective that day.

          41.   In connection with that termination, HPI presented Mr. Melling with a draft

 Confidential Settlement Agreement and General Release (the “Settlement Agreement”). The

 Settlement Agreement was ultimately signed by Mr. Melling and Mr. Sharp after negotiation of

 certain terms. A true and correct copy of the final Settlement Agreement is attached hereto as

 Exhibit D.

          42.   HPI negotiated the terms of the Settlement Agreement via communications and/or

 phone calls to Mr. Melling in New York.



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          43.    In consideration for signing the Settlement Agreement, HPI agreed to pay Mr.

 Melling $35,000 as well as his vehicle allowance for the two months following his termination.

 See id. § 2.

          44.    Additionally, the Settlement Agreement memorialized and preserved certain of

 Mr. Melling’s rights. Specifically, Mr. Kelsey stated in an email to Mr. Melling on May 15,

 2014, that the agreement would “memorialize without alteration what we concretely agreed on

 your promote share, ensure mutual non-disparagement, and mutually release each other.” A true

 and correct copy of Mr. Kelsey’s email is attached hereto as Exhibit E.

          45.    Section 5 of the Settlement Agreement preserves Mr. Melling’s interests in Funds

 I, II and III, stating as follows:

                 The foregoing release also does not impair, affect, waive, or release:
                 (i) Melling’s interest in the following funds or his rights under the
                 agreements covering those funds: HPI Apartment Opportunity Fund
                 I, LLC, HPI Apartment Opportunity Fund II, LLC, and HPI Real
                 Estate Opportunity Fund III, LLC (the “Funds”). . . .

          46.    Section 5 then memorializes Mr. Melling’s exact interests in Funds I, II and III,

 stating as follows:

                 . . . (ii) Melling’s carried interest in those funds as follows: (x) HPI
                 Apartment Opportunity Fund I, LLC – Melling is to be paid 2% of
                 the gross promote paid to the Company, (y) HPI Apartment
                 Opportunity Fund II, LLC – Melling is to be paid 10% of the gross
                 promote paid to the Company, (z) HPI Real Estate Opportunity
                 Fund III, LLLC [sic] – Melling is to be paid 10% of the gross
                 promote paid to the Company . . . .

          47.    Section 16 clarifies that the Settlement Agreement supersedes all prior agreements

 between the parties, stating as follows:

                 This Settlement Agreement represents the entire agreement between
                 the parties hereto and supersedes all prior agreements or
                 understandings, written or oral, between the parties, except those
                 governing the Funds referenced in Paragraph 5.


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           48.      The Settlement Agreement is governed by Connecticut law. Id. § 17. The

  Settlement Agreement affirms Mr. Melling’s right to enforce the Settlement Agreement, see id.

  § 5, and shifts attorneys’ fees and costs to the prevailing party in any action to enforce or

  interpret it, see id. § 18.

           49.      Mr. Melling, for his part, has adhered to and fully performed the terms of the

  Settlement Agreement.

               Early Compliance with the Parties’ Compensation and Settlement Agreements

           50.      Initially, HPI partially complied with the parties’ compensation and settlement

  agreements in the following respects:

                    a.     On or about June 2, 2014, HPI paid Mr. Melling the consideration due

                           under paragraph 2(a)–(b) (“Consideration Payment”). True and correct

                           records of the Consideration Payment are attached hereto as Exhibit F.

                    b.     On or about June 22, 2015, after Fund I completed its cycle, HPI paid to

                           Mr. Melling $2,726.74 as his 2% share of the Fund I gross promote

                           (“Fund I Payment”), in accordance with the terms of the parties’ original

                           compensation agreement for Fund I and Section 5 of the Settlement

                           Agreement. That payment was accompanied by a statement identifying

                           the precise value of the Fund I promote and confirming the percentage of

                           that promote being paid to Mr. Melling. True and correct records of the

                           Fund I Payment are attached hereto as Exhibit G.

                    c.     And on or about September 21, 2016, after Fund II completed its cycle,

                           HPI paid to Mr. Melling $42,838.40 as his 10% share of the Fund II gross

                           promote (“Fund II Payment”), in accordance with the terms of the parties’



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                         amended compensation agreement for Fund II and Section 5 of the

                         Settlement Agreement. That payment, like the Fund I Payment, was

                         accompanied by a statement identifying the precise value of the Fund II

                         promote and confirming the percentage of that promote being paid to Mr.

                         Melling. True and correct records of the Fund II Payment are attached

                         hereto as Exhibit H.

                                        The Fund III Payment

           51.   On or about February 5, 2018, after Fund III completed its cycle, HPI paid to Mr.

  Melling $398,461 (“Fund III Payment”). Included with that payment check was a handwritten

  note from Mr. Sharp, stating, “We finally got a decent payout on a promote! Please see yours

  enclosed.” True and correct records of the Fund III Payment are attached hereto as Exhibit I.

           52.   Unlike with the Fund I and Fund II Payments, HPI did not include with the Fund

  III Payment any statement of the value of the Fund III promote or any confirmation of the

  percentage of that promote being paid to Mr. Melling.

           53.   Consistent with its general practice, HPI had not disclosed to the general public

  the value of its gross promote in Fund III.

           54.   Because HPI held that information in confidence, Mr. Melling could not—and

  still cannot—verify that the Fund III Payment reflects the full amount he is owed.

           55.   However, the real estate investment press did report certain information about the

  performance of Fund III.

           56.   Using that public information, combined with personal knowledge of HPI’s

  general practices acquired in the ordinary course of his employment with HPI, Mr. Melling

  calculated that the gross promote for Fund III was probably at least $9.7 million.



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           57.   Pursuant to Section 5 of the Settlement Agreement, Mr. Melling was entitled to a

  10% share of the gross promote for Fund III, an amount that should have been nearly $1 million,

  based on the $9.7 million estimated gross promote—not the $398,461 Mr. Melling received in

  the Fund III Payment.

           58.   On February 13, 2018, Mr. Melling emailed Mr. Sharp and asserted his doubts

  about whether the Fund III Payment reflected the full value of his 10% share of the Fund III

  gross promote. Mr. Melling asked Mr. Sharp for a call or an email “to walk me through the

  accounting of how you arrived at my share.” A true and correct copy of this email and the

  related email thread is attached hereto as Exhibit J.

           59.   On February 14, 2018, Mr. Sharp responded, stating, “I’m sorry you are

  disappointed with the amount, but it is correct.” Mr. Sharp also claimed that the computation of

  the Fund III Payment was extraordinarily complex, saying, “The calculation of the promote is

  done on an individual basis for over 1100 investments—it’s literally 3,000 pages long and took

  our accountants three weeks to calculate.” Id.

           60.   Mr. Sharp did not offer further information or agree to provide an accounting.

  Nor did Mr. Sharp offer any additional information about Fund III that would have allowed Mr.

  Melling to verify the amount of the Fund III Payment. Id.

           61.   On February 26, 2018, Mr. Melling responded to Mr. Sharp’s email and identified

  the publicly available information on which Mr. Melling had based his estimate of the Fund III

  promote. Mr. Melling also attached a spreadsheet detailing his information, assumptions, and

  computations. Mr. Melling’s February 26 email once again requested an accounting or a further

  meeting to discuss. Id.




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           62.     Neither Mr. Sharp nor any other representative of HPI responded to Mr. Melling’s

  February 26 email.

           63.     After Mr. Melling’s counsel sent a demand letter to HPI on March 20, 2018, HPI

  further obstructed, claiming with no basis through its counsel that the Settlement Agreement

  “does not grant Mr. Melling any rights to the gross promote of Fund III.” Instead, HPI claimed,

  the Settlement Agreement “simply reserves whatever rights he may have had—if any—in

  various funds at the time the separation agreement was executed.”

           64.     HPI’s counsel further argued, again without any basis, that “[t]o the extent [Mr.

  Melling] may have had any rights in the gross promote of Fund III, these rights were contingent

  upon his continued employment with HPI and were cut off by his termination for

  nonperformance.”

           65.     Finally, HPI’s counsel remarkably suggested that the $398,461 Fund III

  Payment—delivered some four years after HPI supposedly terminated Mr. Melling for cause—

  was a “discretionary bonus” that was not made pursuant to or in satisfaction of any obligation to

  Mr. Melling!

           66.     In the face of HPI’s willful disregard of the plain language of the Settlement

  Agreement, its reversal of its four-year course of dealing, and its continued denial of the

  existence of any legal obligation, Mr. Melling exercised his right to sue for enforcement of the

  compensation agreement pertaining to Fund III and the Settlement Agreement.

                                        CAUSES OF ACTION
                                      FIRST CAUSE OF ACTION
                                       BREACH OF CONTRACT
           67.     The foregoing paragraphs are expressly incorporated by reference as if fully

  restated here.



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           68.    The Settlement Agreement expressly states that the release it contains “does not

  impair, affect, waive, or release: (i) Melling’s interest in the following funds . . . HPI Real Estate

  Opportunity Fund III, LLC . . . (ii) Melling’s carried interests in those funds as follows: . . . (z)

  HPI Real Estate Opportunity Fund III, LLLC [sic] – Melling is to be paid 10% of the gross

  promote paid to the Company.” See Exhibit D.

           69.    That language is unambiguous and unconditional, and it memorializes an

  enforceable agreement and obligation for HPI to pay Mr. Melling, post-separation, 10% of the

  gross promote of Fund III.

           70.    The Settlement Agreement is enforceable independent of any prior agreement

  between the parties.

           71.    But to the extent more is required to demonstrate the parties’ agreement, HPI’s

  obligation to pay Mr. Melling 10% of the gross promote of Fund III is further evidenced by the

  term sheets and emails between Mr. Melling, Mr. Sharp, and Mr. Kelsey. See Exhibits A-C.

           72.    Those term sheets and emails, like the Settlement Agreement, are unambiguous

  and unconditional in granting Mr. Melling 10% of the gross promote of Fund III.

           73.    Further, HPI demonstrated by its subsequent words and conduct that it understood

  that the Settlement Agreement required HPI to pay the stated percentages of the gross promotes

  of Funds I, II, and III.

           74.    Mr. Melling has substantially performed all of his obligations under the

  Settlement Agreement.

           75.    HPI has materially breached its obligation under the Settlement Agreement, and

  under the parties’ prior written compensation agreements, to pay Mr. Melling 10% of the gross

  promote of Fund III.



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           76.     As a result of HPI’s breach of its obligation under the Settlement Agreement, and

  under the parties’ prior written compensation agreements, Mr. Melling has been damaged in an

  amount to be determined at trial, but in no event less than $500,000.00, plus his fees and costs

  incurred in his efforts to enforce his contractual rights.

                             SECOND CAUSE OF ACTION
           BREACH OF IMPLIED COVENANT OF GOOD FAITH AND FAIR DEALING
           77.     The foregoing paragraphs are expressly incorporated by reference as if fully

  restated here.

           78.     The Settlement Agreement, as well as the agreements leading up to the Settlement

  Agreement and HPI’s course of performance pursuant to the Settlement Agreement, established

  a common purpose and gave Mr. Melling a justified expectation that HPI would honor its

  commitment to pay him 10% of the gross promote of Fund III.

           79.     HPI has deviated from that common purpose and betrayed Mr. Melling’s justified

  expectation by taking deliberate steps to injure Mr. Melling’s right to receive the benefit of the

  parties’ agreements.

           80.     HPI has committed and propounded those breaches in bad faith.

           81.     HPI’s bad faith acts and omissions include:

                   a.     Failing and refusing to pay Mr. Melling 10% of the gross promote of Fund

                          III;

                   b.     Failing and refusing to reveal the value of the Fund III gross promote;

                   c.     Failing and refusing to reveal the percentage of the Fund III gross promote

                          being paid to Mr. Melling;

                   d.     Failing and refusing to provide an accounting sufficient to allow Mr.

                          Melling to verify whether the Fund III Payment was “correct”;


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                   e.     Engaging in bad faith negotiations designed to delay and obstruct,

                          including (i) denying the existence of known facts and documents until

                          confronted with proof of their existence by Mr. Melling and his counsel;

                          (ii) disclaiming the plain language and legal implications of the Settlement

                          Agreement; and (iii) raising factual defenses contradicted by the entire

                          course of dealing between the parties.

           82.     HPI purposefully and repeatedly failed and refused to disclose information and

  acknowledge basic facts that Mr. Melling required to assess his contractual rights.

           83.     HPI purposefully neglected and refused to fulfill its contractual obligation.

           84.     HPI deliberately attempted to mislead Mr. Melling by obstructing his reasonable

  efforts to discover the factual basis for the payment that he received.

           85.     As a result of HPI’s breach of its implied covenant of good faith and fair dealing,

  Mr. Melling has been damaged in an amount to be determined at trial, but in no event less than

  $500,000.00, plus his fees and costs incurred in his efforts to enforce his contractual rights.

                                 THIRD CAUSE OF ACTION
                         BREACH OF FIDUCIARY DUTY (ACCOUNTING)
           86.     The foregoing paragraphs are expressly incorporated by reference as if fully

  restated here.

           87.     HPI has fiduciary obligations to Mr. Melling by virtue of the relationship between

  the parties.

           88.     In the compensation agreements between the parties, HPI agreed to make future

  payments to Mr. Melling of the specified percentages of the gross promote for each fund,

  including Fund III.




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           89.   Upon Mr. Melling’s separation from HPI, the parties preserved Mr. Melling’s

  right to those specified percentages of the gross promote and further memorialized HPI’s

  obligation to make such future payments to Mr. Melling, including the Fund III Payment.

           90.   Those future payments, including the Fund III Payment, were memorialized as

  percentages of future financial returns, “gross promotes,” whose amounts HPI holds in

  confidence.

           91.   Since Mr. Melling does not have access to this and other relevant information

  about the financial performance of HPI’s funds, Mr. Melling is entirely reliant on HPI to police

  its own performance under the Settlement Agreement.

           92.   This total reliance on HPI creates a relationship characterized by a unique degree

  of trust or confidence between the parties, where HPI has superior knowledge of and access to

  information necessary to calculate the amount owed to Mr. Melling under the parties’

  agreements. This relationship creates a fiduciary duty flowing from HPI to Mr. Melling, giving

  rise to a right of accounting.

           93.   That right of accounting also arises independently from the complexity of HPI’s

  funds and the metrics used calculate fund performance and HPI’s resulting obligations.

           94.   While Mr. Melling is unable to verify HPI’s performance independently, a

  combination of publicly available information and personal knowledge gives Mr. Melling strong

  and credible reason to believe that HPI has abused its fiduciary duty and breached its contractual

  obligation.

           95.   Mr. Melling is entitled to an accounting sufficient to permit him to ascertain the

  true value of his contractual interest in Fund III and whether HPI has fully performed its

  obligations with respect to that interest.



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           96.      Mr. Melling, himself and through his counsel, has repeatedly asked HPI to

  provide such an accounting or equivalent remedy.

           97.      HPI, itself and through its counsel, has ignored or refused each and every one of

  these requests.

           98.      As a result, Mr. Melling is entitled to a judgment for an accounting sufficient to

  permit him to ascertain the true value of his contractual interest in Fund III and whether HPI has

  fully performed its obligations with respect to that interest.

                                         FOURTH CAUSE OF ACTION
                                            QUANTUM MERUIT

           98.      The foregoing paragraphs are expressly incorporated by reference as if fully

  restated here.

           99.      In the event that this Court determines that there is not an enforceable contract

  between Mr. Melling and HPI regarding his right to the 10% of the gross promote in connection

  with Fund III, Mr. Melling is nevertheless entitled to 10% of the gross promote under the

  doctrine of quantum meruit.

           100.     Mr. Melling worked for HPI for four years to promote Funds I, II, and III,

  dedicating his time and energy to ensuring the success of HPI.

           101.     In connection with his work on each of the three funds, Mr. Melling agreed with

  HPI as to a certain percentage of the gross promote. That agreed upon percentage of the gross

  promote was then memorialized in the Settlement Agreement between Mr. Melling and HPI.

           102.     For Funds I and II, Mr. Melling received the agreed upon percentage. Mr.

  Melling justifiably expected to receive his agreed upon percentage for Fund III, as well.




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           103.   Now that a larger amount of money is at stake, however, HPI has attempted to

  unjustly enrich itself by unjustly denying Mr. Melling the 10% of the gross promote that he was

  repeatedly assured that he would receive.

           104.   Mr. Melling rendered services to HPI in connection with all three funds, including

  Fund III.

                  a.     During Mr. Melling’s time at HPI, HPI raised more than $90 million in

                         total equity, more than $20 million of which was raised from investors that

                         Mr. Melling introduced to HPI. The $20 million in equity that resulted

                         from Mr. Melling’s investor contacts generated more than $500,000 in

                         acquisition fees (which Mr. Melling received no share of), more than

                         $200,000 in ongoing asset management fees (which Mr. Melling received

                         no share of), and more than $300,000 in ongoing annual property

                         management fees (which Mr. Melling received no share of).

                  b.     Mr. Melling leveraged his personal relationships and connections to bring

                         large investors to HPI, and to provide additional bridge financing to help

                         the funds close acquisitions.

           105.   Mr. Melling is entitled to a reasonable sum for those services, and specifically is

  entitled to receive the 10% of the gross promote that was reasonably and justifiably expected by

  Mr. Melling.

                                            CONCLUSION
           WHEREFORE, Plaintiff Christopher Melling demands judgment in his favor and against

  Hamilton Point Investments, LLC as follows:

           1.     Awarding Mr. Melling damages in an amount to be determined at trial, but in no

  event less than $500,000;

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          2.     AwardingMr. Melling an accountingof the actualvalueof his contractualinterest

   in FundIII;

          3.     AwardingMr. Melling the valueof his afforneys'feesandcostsincurredin the

   pursuit of his rights underthe SettlementAgreement;

          4.      Prejudgmentinterestat the statutoryrate from the time eachapplicablepayment

   camedue; and

          5.      Suchotherand furtherrelief asthe Courtdeemsjust andproper.



    Dated:New York, New York                                         (US)LLP
                                                  EvsnsuposSunrpnr.aND
          September21,2018


                                                     Scott

                                                     I114Avenueof theAmericas
                                                     NewYork,New York 10036
                                                     (212)389-5000
                                                                                   com
                                                                          sutherland.
                                                     scottgreathead@eversheds-
                                                     travismock@eversheds-sutherland.com




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                          HAMILTON POINT
                                 INVESTf...'iENTS




                             CHRISTOPHER MELLING
                  Sr. Vice President, Capital Markets & Investments


 Key Responsibilities
    1. Equity and debt placement
    2. Sourcing, evaluation, underwriting, closing, financing of firm investments
    3. As needed, asset management oversight of investments

 Compensation

    Fund/
    1. $5,000 per month for the months of May, June, July and August, increasing to
       6,500 per month on September 1.
    2. $25,000 one-time bonus at $10 million, $25,000 bonus at $15 million and $25,000
       bonus at $20 million, cash.
    3. 5-10 bps from Orchard Wholesaling fee ($9,000 to $18,000 at $20 million raise)
    4. 2% of promote of Fund I (up to $200,000 over 3-year life of fund)


    Fund II
    1. Monthly cash comp increases to $7,500 at start of marketing, increasing to $9,000
       after 3 months of marketing, and increasing to $10,000 per month after final close
       ofFund
    2. Same bonus on cash raising ($25K at each of the three $SM hurdles)
    3. Discretionary bonus of $50,000 after close of fund
    4. ~:;fwp~~:~~~i~:;:d 11
     5.

                                 Start Date: May 1, 2010




                                                     06371 \860) 598-4300
                      7 VISTA DRIVE OLD LYME CT
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                           HAMILTON POINT
                                  INVESTMENTS




                                CHRISTOPHER MELLING
                     Sr. Vite President, Capital Markets & Investments
                                    ?rv'' '. \7'-' \


   Fund II Period Compensation, commenced November 2011

       1.   $10,000 per month
       2.   $250 per month car allowance
       3.   Reimbursed rent for NL apartment, commencing June 2012
       4.   10% of gross promote of Fund II




                                                   Dated ~ 7




              harp, Managing Principal             Dated
    Hamilton Point Investments, LLC




                     2 Huntley Rd. O LD LYME CT 06371 (860) 598-4300
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                    EXHIBIT B
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  M Gmail                                                                                                                                Chris Melling <chrls.melling@gmail.com>



  FW: Compensation
  1 message

  Chris Melling <melling@hamiltonptinv.com>                                                                                                          Tue, Mar 25, 2014 at 10:41 AM
  To: chris.melling@gmail.com




    From: J. David Kelsey [mailto: kelsey@hamiltonptinv.com]
    Sent: 07 June 2012 18:48
    To: 'Chris Melling'; 'Matthew Sharp'
    Subject: RE: Compensation


    CM - the 10% is of the TOTAL GROSS promote, like in the calculation sheet. It is NOT net of any seed investors. DK




    From: Chris Melling [ mailto:melling@hamiltonptinv.com]
    Sent: Thursday, June 07, 2012 4:09 PM
    To: 'Matthew Sharp'; 'J. David Kelsey'
    Subject: Compensation


    Question - is my percentage of the promote as discussed calculated on the total Fund promote or your share of the Fund promote? I know you made some deal
    with the seed investors, so if the total promote owed to HPI in Fund I is say $2.0mm, and you owe $500,000 of that to seed investors. Is my 2% based on the
    $2.0mm of the $1.Smm?



    If the latter, did you do a similar deal with anyone for Fund II? If the former, not relevant.


    Thanks.




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     Chris Melling                                                                  136
    Hamilton Point Investments

    Principal

    Main: 860-598-4300

    Direct: 860-434-5166

    Mobile: 646-382-8688

    Email: melling@hamiltonptinv.com




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                    EXHIBIT C
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   fW: Fund Ill
            -- -- - - - .. · - - - - - - - -                ------· -------- -- -
  Christopher Melling <melling@hamiltonptinv.com>                                             Mon, Feb 3, 2014 at 9:17 AM
  To: chris.melling@gmail.com




      From: Matt Sharp [mailto: sharp@hamiltonptinv.com]
      Sent: 01 February 2014 13:43
      To: 'Christopher Melling'; 'J. David Kelsey'
      Subject: RE: Fund III


      Chris

      It was same comp as now but with 10% of gross promote.

      Matt




      From: Christopher Melling [ maill:O m I rg@h; mlltonptinv.com]
      Sent: Thursday, January 30, 2014 11:00 AM
     To: 'Matt Sharp'; 'J. David Kelsey'
     Subject: Fund III


      Sometime today or tomorrow could you guys let me know what my compensation structure is for Fund Ill?



     If I was told what it was I apologize but I can't remember.



     T hanks.
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            CONFIDENTIAL SETTLEMENT AGREEMENT AND GENERAL RELEASE

           This Confidential Settlement Agreement and General Release ("Settlement Agreement")
    is made by and between Christopher Melling ("Melling"), and Hamilton Point Investments,
    LLC, 2 Huntley Rd., Old Lyme, CT 06371 (the "Company").

            NOW TIIBREFORE, intending to be legally bound, the Company and Melling agree as
     follows:

             1.     Termination of Independent Contractor Agreement. Melling's last day of
    work for the Company was April 2, 2014, when the Company eliminated his position with
    the Company and terminated his Independent Contractor relationship with the Company
    (the "Termination Date"). Melling acknowledges that any role with or service to the Company
    or any of the other Releasees identified in Paragraph 5 below, and any authority he had to act on
    their behalf in any capacity, ended on the Termination Date.

           2.     CONSJDERATION. In consideration for Melling signing this Settlement
     Agreement, and in compliance with the promises made herein, the Company will:

                     a.    Pay Melling the gross amount of Thirty Five Thousand Dollars
     ($35,000.00) (the "Settlement Proceeds") paid upon Melling's execution of this Settlement
     Agreement. The Company will include the Settlement Proceeds in the form 1099 it will issue to
     Melling for calendar year 2014; and

                    b.    Pay Melling his car a11owance of Two Hundred Fifty Dollars ($250) each
     month for the months of April and May 2014.

             3.                     TAX TREATMENT. · Melling agrees and understands that the
    _Company makes no representations to MeJling regarding the taxability of the payments set forth
     above, and that Melling remains fully responsible for any taxes, interest or penalties incurred by
     him due to the treatment of these payments by any taxing authority. Melling agrees that in the
     event any taxing authority determines any part of the Settlement Proceeds or other benefits is
     taxable income to Melling, he is solely responsible for the payment of all taxes, which may result
     to him by virtue of those payments, and that the Company shall not bear any responsibility for
     any tax liabilities of Melling. Melling shall hold harmless and indemnify the Company and any
     other Released Party described in Paragraph 5 in the event any taxing authority seeks payment of
     Melling's taxes, or interest, penalties, or other liabilities of Melling from the Company or any
     other Released Party. Melling also shall be responsible to hold harmless from, and indemnify
     the Company or any other Released Party for, any interest, penalty, attorney fees, or other cost or
     expense imposed on or incurred by any of them as a result of Melling not making any payment
     for income taxes, or other payment or contribution, which any state or federal taxing authority
     determines was required as a result of payment of the Settlement Proceeds or other benefits
     provided under this Agreement.

            4.    NO CONSIDERATION ABSENT EXECUTION OF THIS AGREEMENT.
     Melling understands and agrees that he would not receive the consideration specified in


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    paragraph (2) above, except for his execution of this Settlement Agreement and the fulfillment of
    the promises contained herein.

             5.                      RELEASE. (a) Melling Release. For and in consideration of the '
    payments to be made by the Company as set forth above and other good and valuable
    consideration, the sufficiency of which Melling aclmowledges, Melling hereby releases and
    forever discharges the Company, and all of its direct or indirect, present and/or fonner parents,
    affiliates, divisions, subsidiaries, predecessors, successors, and assigns, including but not limited
    to, Hamilton Point Property Management, LLC, Hamilton Capital Investments, LLC, Milton
    Point Investments, LLC, and HPI Crocker House, LLC, as well as all of their present and fonner
    officers, directors, shareholders, members, founders, representatives, assigns, agents, counsel,
    insurers, reinsurers, fiduciaries, employee benefit plans, pension plans or funds, executors,
    administrators and employees (cumulatively, the "Company Releasees") to the fullest extent
    permitted by law, of and from all actions, causes of action, suits, debts, dues, sums of money,
    damages, judgments, executions, claims and demands which may be legally waived by private
    agreement, in Jaw or in equity, known or unknown, foreseen or unforeseen, which he ever had,
    now has or which his heirs, executors, administrators, successors and assigns (cumulatively with
    Melling, the "Melling Releasors") hereafter shall, can or may have, upon or by reason of any
    matter, cause or thing whatsoever from the beginning of the world to the date of the mutual
    execution of this Settlement Agreement. The foregoing release by the Melling Releasors
    includes, but is not limited to, any and all claims arising out of Melling's independent contractor
    relationship with the Company, the termination of that relationship, and any and all claims,
    individual or collective, arising on or before the parties' execution of this Settlement Agreement
    under the Age Discrimination in Employment Act of 1967, as amended, 29 U.S.C. § 621 e t ~
    Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000 e t ~ the Civil Rights
    Act of 1871, as amended, 42 U.S.C. § 1981 et seq., the Americans with Disabilities Act, 42
    U .S.C. § 12101 e t ~ the Employee Retirement Income Security Act of 1974, as amended, 29
    U.S.C. § 1001 e t ~ Family and Medical Leave Act, 29 U.S.C. §2601 et film. and all other
    federal, state and loca1 laws, including but not limited to, the Connecticut Fair Employment
    Practices Act, Conn. Gen. Stat. § 46a-60, and all other federal, state and local laws, as each of
    the foregoing have been or may be amended, and any and all claims arising under any other
    federal, state or local statute, law, rule, regulation, or decision, including without limitation,
    claims for discrimination, harassment, retaliation based on applying for workers compensation
    benefits, retaliation for any other act, breach of contract, infliction of emotional distress,
    negligence, defamation or slander, and any and all other common law or tort claims, as well as
    any and all claims for attorneys' fees and costs.

           The foregoing release does not waive claims Me11ing could make, if available, for
    unemployment compensation or workers' compensation benefits. Nor does it release claims
    the law does not pennit Melling to release. The foregoing release also does not impair, affect,
    waive, or release: (i) Melling's interest in the following funds or his rights under the agreements
    covering those funds: HPI Apartment Opportunity Fund I, LLC, HPI Apartment Opportunity
    Fund II, LLC, and HPI Real Estate Opportunity Fund III, LLC (the "Funds"), (ii) MelJing's
    carried interests in those funds as follows: (x) HPI Apartment Opportunity Fund I, LLC
    - Melling is to be paid 2% of the gross promote paid to the Company, (y) HPI Apartment
    Opportunity Fund II, LLC - Melling is to be paid 10% of the gross promote paid to the



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    Company, (z) HPI Real Estate Opportunity Fund Ill, LLLC - Melling is to be paid 10% of the
    gross promote paid to the Company, or (iii) any c1aims arising from or in connection with this
    Agreement.

                    (b) Company Release. For and in consideration of the Release by the Melling
    Releasors and other good and valuable consideration, the sufficiency of which the Company
    aclmowledges, the Company hereby releases and forever discharges Melling, and       allof his direct
    or indirect, present and/or former affiliates, executors, predecessors, heirs, administrators,
    successors, and assigns, representatives, agents, counsel, insurers, reinsurers and fiduciaries
    (cumulatively, the "Melling Release~s") to the fullest extent permitted by law, of and from all
    actions, causes of action, suits, debts, dues, sums of money, damages, judgments, executions,
    claims and demands which may be legally waived by private agreement, in law or in equity,
    known or unknown, foreseen or unforeseen, which it ever had, now has or which all of its direct
    or indirect, present and/or former parents, affiliates, divisions, subsidiaries, predecessors,
    successors, and assigns, including but not limited to, Hamilton Point Property Management,
    LLC, Hamilton Capital Investments, LLC, Milton Point Investments, LLC, and HPI Crocker
    House, LLC, as well as all of their present and former officers, directors, shareholders, members,
    founders, representatives, assigns, agents, counsel, insurers, reinsurers, fiduciaries, employee
    benefit plans, pension plans or funds, executors, administrators and emp1oyees (cumulatively
    with Company, the "Company Releasors") hereafter shall, can or may have, upon or by reason of
    any matter, cause or thing whatsoever from the beginning of the world to the date of the mutual
    execution of this Settlement Agreement. The foregoing release by Company Releasors includes,
    but is not limited to, any and all claims arising out of Company's independent contractor
    relationship with Melling, the termination of that relationship, and any and all c1aims, individual
    or collective, arising on or before the parties' execution of this Settlement Agreement under the
    Age Discrimination in Employment Act of 1967, as amended, 29 U.S.C. § 621 e t ~ Title VII
    of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000 e t ~ the CivH Rights Act of
    1871, as amended, 42 U.S.C. § 1981 et seg., the Americans with Disabilities Act, 42 U.S.C. §
    12101 et seg., the Melling Retirement Income Security Act of 1974, as amended, 29 U.S.C. §
    1001 et seq., Family and Medical Leave Act, 29 U.S.C. §2601 et~- and all other federal, state
    and local laws, including but not limited to, the Connecticut Fair Employment Practices Act,
    Conn. Gen . Stat. § 46a-60, and all other federal, state and local laws, as each of the foregoing
    have been or may be amended, and any and all claims arising under any other federal, state or
    local statute, law, rule, regulation, or decision, including without limitation, claims for
    discrimination, harassment, retaliation based on applying for workers compensation benefits,
    retaliation for any other act, breach of contract, infliction of emotional distress, negligence,
    defan1ation or slander, and any and all other common law or tort claims, as well as any and all
    c1aims for attorneys' fees and costs. The foregoing release does not waive claims the Company
    may have against Melling or the other Melling Releasors arising out of willful misconduct or
    criminal behavior by Melling or any of the other Melling Releasors. The Company
    acknowledges that it is aware of no such conduct or behavior as of the execution of this
    agreement.

            6.    NO CLAIMS FILED. Melling represents that he has not filed any claims,
    complaints, charges or other proceedings against the Company or any of the Releasees in any
    court, administrative agency, or other forum relating directly or indirectly to his work for the



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    Company or any of the other Company Releasees, his independent contractor relationship with
    the Company, or the termination of that relationship. Melling understands that nothing in this
    Agreement shall be construed to prohibit him from filing a charge with, or participating in any
    investigation or proceeding conducted by, the Equal Employment Opportunity Commission,
    National Labor Relations Board ("NLRB"), the Connecticut Commission on Human Rights and
    Opportunities and/or any federal, state or local agency. Notwithstanding the foregoing, Melling
    hereby waives any and all rights to recover any relief, including but not limited to, monetary
    damages, reinstatement, or any other relief in any charge, complaint or lawsuit filed by him or by
    anyone else on his behalf, except with the NLRB or anywhere else such a waiver is prohibited.

           7.    NONADMISSION OF WRONGDOING. By entering into this Settlement
    Agreement, none of the Melling Releasees or Company Releasees admits any liability,
    wrongdoing or violation of any Jaw, statute, regulation, agreement, or policy.

             8.    REPRESENTATIONS. Melling represents and acknowledges the following:
    (I) he has received all compensation due him as a result of the services he performed for the
    Company and any of the other Company Releasees to the date of his signature on this Settlement
    Agreement, and that none of the Company Releasees owes him any wages, commissions,
    bonuses, sick pay, disability leave pay, family leave pay, severance pay, vacation pay, paid time
    off; or any other compensation, benefit, payment or remuneration of any kind or nature, except
    for vested benefits under any BRISA plan to which he may be entitled, (2) he has reported to the
    Company any and all work-related injuries incurred by him; and (3) he is aware of no concerns
    regarding suspected ethical and compliance issues or violations on the part of the Company or
    any of the other Company Releasees.

             9.     CONFIDENTIALITY. Melling agrees and acknowledges that he has not
    disclosed and shall riot disclose the existence or terms and conditions_ of this Settlement
    Agreement to anyone other than his spouse, private counsel, and tax advisor, and that he may
    make only such other disclosures as are expressly required by law. Melling may only advise
    his spouse, private counse], and tax advisor of the terms of the Settlement Agreement after they
    have agreed to keep said terms confidential and not to disclose them. Company agrees and
    acknowledges that J. David Kelsey, Matthew Sharp and any other employee, agent, contractor
    or representative who has knowledge of this Agreement's terms have not disclosed and shall not
    disclose the existence or terms and conditions of this Settlement Agreement to anyone other than
    the Company's counsel and tax advisor, and that it may make only such other disclosures as
    are expressly required by law. J. David Kelsey, Matth~w Sharp and any other employee, agent,
    contractor or representative who has knowledge of this Agreement's tem1s may only advise the
    Company's counsel, and tax advisor of the terms of the Settlement Agreement after they have
    agreed to keep said terms confidential and not to disclose them.

            10.    NON-DISPARAGEMENT.

                   a.                               Melling agrees that for the period of five (5) years
    from the date of his execution of this Agreement: (i) he will not utter or issue any oral or written
    statement or communication that disparages any of the Company Releasees; and (ii) he will not
    in any way participate in, assist or facilitate disparagement of any of the Company Releasees by



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    any third party, except if testifying truthfully under oath pursuant to subpoena or other legal
    process or otherwise responding to or providing disclosures required by law in connection with
    an investigation by a governmental or law enforcement agency. In the event Melling is
    comp_elled by subpoena process to testify as described herein, Melling will provide prompt
    written notice to the Company (on behalf of any of the Company Releasees) as soon as possible
    and prior to responding to such subpoena, in time to permit the Company Releasees to take any
    action they may deem appropriate to protect their rights under this Agreement. Melling
    expressly represents that he has complied with this provision of the Agreement from April 2,
    2014, through the date on which he has executed this Agreement. Melling further acknowledges
    that the Company has relied on this representation in entering into this Agreement, and will rely
    on his continued compliance with this provision of the Agreement in complying with the
    Company's obligations under this Agreement.
                    b.                             The Company agrees that for the period of five (5)
    years from the date of its execution of this Agreement: (i) J. David Kelsey and Matthew Sharp
    will not utter or issue any oral or wr.itten statement or communication that disparages Melling;
    and (ii) J. David Kelsey and Matthew Sharp will not in any way participate in, assist or facilitate
    disparagement of Melling by any third party, except if testifying truthfully under oath pursuant
    to subpoena or other legal process or otherwise responding to or providing disclosru-es required
    by law in connection with an investigation by a governmental or law enforcement agency. In the
    event that J. David Kelsey or Matthew Sharp is compelled by subpoena process to testify as
    described herein, the Company will provide prompt written notice to Me11ing as soon as possible
    and prior to responding to such subpoena, in time to permit Melling to take any action he may
    deem appropriate to protect their rights under this Agreement. The Company expressly
    represents that J. David Kelsey and Matthew Sharp have complied with this provision of the
    Agreement from April 2, 2014, through the date on which The Company executed this
    Agreement. The Company further acknowledges that Melling has relied on this representation in
    entering into this Agreement, and will rely on continued compliance with this provision of th~
    Agreement in complying with his obligations under this Agreement.

             11 .    COOPERATION. Melling agrees that he will be available, upon reasonable
    notice, to respond to questions and provide assistance to the Company or any other Released ·
    Party regarding: a) any complaint, claim, investigation, charge or similar matter relating to, or
    arising out of, any act or omission on his part; and b) any matter for which he was responsible; c)
    or any matter about which he had knowledge in connection with his work for any of the Released
    Parties. Melling further agrees to fully cooperate in any litigation, administrative proceeding, or
    other proceeding that may involve him in any capacity as a result of his work for the Company
    or any other Released Party, or concerning which he has knowledge in connection with his work
    for the Company or any of the other Company Releasees. This includes, if necessary, meeting
    at mutually convenient times with the Company's attorneys, attending meetings, depositions
    and trial, and providing truthful testimony. Melling understands that the Company shall provide
    reimbursement for reasonable. documented costs and expenses of such cooperation, including
    travel expenses, incurred in any calendar year in connection with cooperation required under this
    paragraph.

            12.    THIRD PARTY INQUIRIES. Melling understands that in response to third party
    requests, the Company complies with its existing policy by verifying only dates of employment



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    or service, last position held and, if authorized, compensation information. Melling further
    understands that the Company is obligated to produce information and records in response to
    lawful requests from government agencies and in connection with litigation and regulatory
    proceedings.

            13.    NO FUTURE APPLICATION FOR EMPLOYMENT. Melling will not apply
    in the future for employment with the Company or any of the other Company Releasees, and
    hereby agrees that the execution of this Settlement Agreement is good and sufficient cause
    for the Company or any of the other Company Releasees to reject any such application for
    employment.

             14.    NON-USE AND NON-DISCLOSURE OF CONFIDENTJAL INFORMATION.
    Melling acknowledges and agrees that in the course of his work for the Company he has been
    provided with access to confidential information of the Company and the other Company
    Releasees, incJuding but not limited to technology, personnel records, wage infonnation, know-
    how, trade secrets, products, customer information, lists and data, marketing and business plans
    and strategies, product development, pricing and other processes and methods, and financial and
    other business data regarding the Company and the other Company Releasees and their clients
    and investors and/or information the nature of which would commonly be reasonably understood
    to be confidential (hereinafter referred to collectively as the "Confidential Information"). In
    addition to his common law obligation to do so, Melling specificaUy agrees to keep such
    information strictly confidential, and not to directly or indirectly use, disclose, reproduce,
    sell, retain, remove from the premises, make available to any other person or entity, or use
    for Melling's own or for any other person's or entity's benefit, any portion of the Confidential
    Information, without the prior written consent of the Company.or as may be required by law.

            15.     RETURN OF COMPANY PROPERTY. Melling represents that he has returned
    to the Company any and all property in his possession, custody or control that belongs to the
    Company (such property includes without limitation, equipment, credit cards, keys, files, and
    other documents, computer disks, codes and any other computer or electronic information,
    including, but not limited to, the confidential information described in paragraph 14. Melling
    also represents that he has no Company information on his personal computer systems.

            16. ENTIRE AGREEMENT. Thjs Settlement Agreement represents the entire
    agreement between the parties hereto and supersedes all prior agreements or understandings,
    written or oral, between the parties, except those governing the Funds referenced in Paragraph
    5. This Settlement Agreement may not be changed except by an instrument in writing signed
    by the parties. Melling acknowledges that he has not relied on any representations, promises,
    or agreements of any kind made to him in connection with his decision to sign this Settlement
    Agreement and that he executes this Settlement Agreement freely and voluntarily.

             17.   GOVERNING LAW AND INTERPRETATION. This Settlement Agreement
    shall be governed by, and construed and enforced in accordance with, the laws of the State of
    Connecticut, without giving effect to principles of conflicts of law. Should any provision of
    this Settlement Agreement other than Paragraph 5 be declared illegal or unenforceable by any
    court of competent jurisdiction and cannot be modified to be enforceable, such provision shall
    immediately become null and void, leaving the remainder of this Settlement Agreement in full


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   force and effect. If the release of claims in Paragraph 5 is declared illegal or unenforceable by
   any court of competent jurisdiction and cannot be modified to be enforceable, then Melling will
   reimburse the Company the sums paid to him pursuant to Paragraph 2.

           18.    ATTORNEY FEES AND COSTS. In the event any action, suit or proceeding
   is brought to interpret, enforce or obtain relief from a breach of this Agreement, the prevailing
   party shall recover all such party's reasonable costs, expenses and attorneys' fees incurred in
   each and every such action, suit or other proceeding, including any and all appeals or petitions
   therefrom.

         · IN WITNESS WHEREOF, the parties have executed this Settlement Agreement as of the
   dates set forth below.




   Date:   G/ :Z.   ?j :Jo/ i                          cQ
                                                       Hamilton Point Investments, LLC



   Date:




                                                   7
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                    EXHIBIT E
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   From:               Chris Melling
   To:                 Ford, Kara; Greathead, Scott
   Subject:            email
   Date:               Thursday, September 13, 2018 10:35:03 AM




   From: "J. David Kelsey" <kelsey@hamiltonptinv.com <mailto:kelsey@hamiltonptinv.com> >
   Date: May 15, 2014 at 5:12:36 PM EDT
   To: "'Chris Melling'" <chris.melling@gmail.com <mailto:chris.melling@gmail.com> >
   Cc: <sharp@hamiltonptinv.com <mailto:sharp@hamiltonptinv.com> >
   Subject: Agreement



   Chris - attached is the agreement we are prepared to sign, a clean and blacklined version comparing your changes to
   this final with all economic and legal comments. The two material items we did not agree to are:



   1) inclusion of your two economic items for any Crocker House DST and an upward adjustment to Garden Park
   fee. We did not discuss a fee for any Crocker House exchange deal whether you were part of the efforts or not. On
   the Garden Park fee, we talked about hiring an acquisitions person to free up Matt and me after hiring Kristin to free
   you up, funded by a portion of the full Garden Park fee. We did not hire an acquisitions associate, but we did hire
   Cinami to oversee capital projects as well as bringing Ashley on payroll to help Melissa. The effect was the same, a
   portion of the GP acquisition fee for ALL of us went to fund MORE hiring than we actually planned in order to free
   Matt and me.



   2) exclusion of the cooperation provision for anything you might have been involved in that might crop up later.



   On the $10,000 from 2012, that advance was made April 13, 2012 and was not included in the 2012 1099 you
   received, so we did not expense it on our side and you likely did not declare it as income that year. Bart recalled it
   as a loan for 2011 taxes, and had it as a receiveable to be repaid from proceeds of any promote fees to you. If you
   don't recall this at all, we are willing to just 1099 that income to you and expense it on our side, which ever you
   want, Bart can handle it.



   What we are prepared to do is pay you $20,500 when the agreement is signed, memorialize without alteration what
   we concretely agreed on your promote share, ensure mutual non-disparagement, and mutually release each other.



   Dave




   J. David Kelsey, Managing Principal

   Hamilton Point Investments LLC
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   2 Huntley Rd.

   Old Lyme, CT 06371

   (860) 598-4301
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                    EXHIBIT F
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HAMILTON PO!NT !NVESTMENTS LLC                                                             1821
        Christopher Melling                                               6/2/2014
   Date        Type Reference            Original Amt.   Balance Due        Discount      Payment
   6/2/2014      Bill                       35,500.00      35,500.00                     35,500.00
                                                                       Check Amount      35,500.00




   Bank of America                                                                        35,500.00
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                   EXHIBIT G
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                                             153
                                HAMILTON POINT
                                         INVESTMENTS




  June 22, 2015



  Via US Mail



  Mr. Chris Melling
  9 College Place, Apt. 2A
  Brooklyn, NY 11201


  Dear Chris,

  Enclosed please find a check representing 2% of the total "promote" owed to Hamilton Point
  Investments from HPI Apartment Opportunity Fund I, LLC. The gross promotable amount was
  $681,687 and the 20% promote was $136,337. The enclosed check represents 2% of that.

        ; YOU.




   art Giustina
  Chief Financial Officer




                        2 Huntley Road, Old Lyme, CT 06371 • Tel (860) 598- 4300
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HAMILTON POINT INVESTMENTS LLC                                                               2217
       Christopher Melling                                                 6/22/2015
  Date        Type Reference             Original Amt.   Balance Due         Discount      Payment
  6/22/2015 Bill    Promote                  2,726.74        2,726.74                      2,726.74
                                                                        Check Amount       2,726.74




   Bank of America                                                                          2,726.74
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                   EXHIBIT H
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HP! Apartment Opportunity Fund II LLC                          C. Melling - Incentive Fee Participation

                      Fund II Incentive Fee to HPI         $428,384.00

                      Participation                             10.00%

                      Participation Amount                 $ 42.838.40
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                     EXHIBIT I
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                                                      159




                                                                                                    KEY BANK                                  3750
                                                                                                                                                            1
                                                                                                 CLEVELAND, OHIO

               HAMILTON POINT INVESTMENTS LLC
                               2 H UNTLEY ROAD
                                                                                                     6-103/410
                              OLD LYME, CT 06371
                                                                                                                                   2/5/2018


    PAY TO THE         .              .                                                                                                                         A.,
    ORD ER OF      Christopher Melhng                                                                                           $ **398,461 .00

    _Three
      _ _ Hundred
           ____   Ninety-Eight  Thousand
                    _;!.__..::._~_:_~    Four Hundred Sixty-One
                                      ~--=..::._.:...:..:..__:.:_:...:..=.....::..:..:2-....:..:..    and 00/100******************************************
                                                                                                 :.:._::.:..:.:_:_:::_:_::.:__ _ __ _ __ _ __ __ __ DOLLARS

                Christopher Melling
                9 College Place, Apt 2A
                Brooklyn Heights, NY 11201

    MEMO                                                                                                                       AUTH O R I ZED SIGNA T URE




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    HAMILTON POINT INVESTMENTS LLC                                                                                                            3750
           Christopher Melling                                                                                   2/5/20 18
      Date        Type Reference                                  Original Amt.          Balance Due               Discount             Payment
      2/5/2018    Bill                                             398,461 .00            398,461 .00                                 398,461 .00
                                                                                                           Check Amount               398,461 .00




       Key Bank                                                                                                                         398,461.00
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                     EXHIBIT J
3/12/2018                    Case 1:18-cv-03514-ARR-SMG                   Document 20
                                                                                   Gmail - Filed  09/21/18
                                                                                           Re: Fund III                Page 52 of 55 PageID #:
                                                                                  161

                                                                                                                                   Chris Melling <chris.melling@gmail.com>



  Re: Fund III
  1 message

  Chris Melling <chris.melling@gmail.com>                                                                                                         Mon, Feb 26, 2018 at 3:23 PM
  To: Matt Sharp <sharp@hamiltonptinv.com>

    Matt,

    To be clear, my email was not intended to convey "disappointment", but rather I'm trying to understand that methodology behind the check amount better.

    I read here on the link below the total size of Fund III was $80mm

    https://www.thefreelibrary.com/Fund+wraps+up+with+%2441m+apartment+purchase%3A+Hamilton+Point...-a0415324520

    I used the numbers from the DI Wire article that I sent earlier to create a simulated approximation just using the averages and some assumptions - a 13% total load
    on equity, $205mm of properties purchased, a 5% purchase cost added on to give an estimated acquisition LTV of 71%

    Using the $278mm total sales figure from the article, I assumed 6% selling fees & costs to account for brokers and defeasance and or pre-payment penalties and a
    69% LTV on average for closings I assumed the 8% distribution was paid during the fund life as was done in past funds and averaged that over the reported 3.5
    year average fund life. I then added the waterfall and attempted to get to the average net return reported.

    Using this basic model, it generates an approximate gross promote of $9.7mm - my prior email was seeking to reconcile the delta.

    In the past you had provided me with an accounting when sending promote payments, but nothing came with this check. While I don't expect a 3,000 page report
    and I understand there are many investors each with a unique calculation, any calculation support would be helpful in reconciling with the model I ran.

    I've attached my model so you can see what I'm trying to do.

    Could you kindly send me some backup to how my share was calculated and let me know if I'm missing something in my math? Happy to talk directly with you or
    your accountants if you think that's helpful.

    Thanks,

    Chris



    On Wed, Feb 14, 2018 at 3:43 PM, Matt Sharp <sharp@hamiltonptinv.com> wrote:

      HI, Chris.

      I’m sorry you are disappointed with the amount, but it is correct. Not sure what figure you are coming up with from the press release. The calculation of the
      promote is done on an individual basis for over 1100 investments – it’s literally 3,000 pages long and took our accountants three weeks to calculate.
https://mail.google.com/mail/u/0/?ui=2&ik=803e78f66f&jsver=kBTDgkPpgMA.en.&view=pt&cat=HPI&search=cat&th=161d3c899134d8b0&siml=161d3c899134d8b0&mb=1                         1/3
3/12/2018                    Case 1:18-cv-03514-ARR-SMG                    Document 20
                                                                                    Gmail - Filed  09/21/18
                                                                                            Re: Fund III               Page 53 of 55 PageID #:
       Matt                                                                        162




      From: Chris Melling [mailto:chris.melling@gmail.com]
      Sent: Tuesday, February 13, 2018 11:21 AM
      To: Matthew Sharp <sharp@hamiltonptinv.com>
      Subject: Fund III



      Dear Matt,



      I received the check and your note. I hope that you and Eliza and the girls are all doing well. Congratulations on another successful full cycle fund and all your
      continued success at Hamilton Point.



      I saw the DI Wire article below regarding the final returns to Fund III investors.



      https://thediwire.com/hamilton-point-fund-goes-full-cycle-3-5-years-nets-18-irr-investors/



      Based on the returns in this article, from my perspective, it does not appear the check reflects full payment. Using a quick back of the envelope calculation, it would
      seem that 10% of the gross promote is greater than the amount in the check I received.



      I would like to set up a call to walk me through the accounting of how you arrived at my share. Alternatively if you want to email me an accounting for review that
      works too. Just trying to understand the math a bit better.



      Look forward to hearing from you. Thanks.



      Sincerely,




https://mail.google.com/mail/u/0/?ui=2&ik=803e78f66f&jsver=kBTDgkPpgMA.en.&view=pt&cat=HPI&search=cat&th=161d3c899134d8b0&siml=161d3c899134d8b0&mb=1                            2/3
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                                                                                   Gmail - Filed  09/21/18
                                                                                           Re: Fund III                Page 54 of 55 PageID #:
      Chris Melling                                                               163




            HPI Fund 3 BOTE.xlsx
            13K




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HPI Real Estate Opportunity Fund III BOTE
Total Equity Raised Reported                                               $     80,000,000.00
Average Fund Life Reported                                                            3.5 years
Total Purchase Price Reported                                              $    205,000,000.00
Total Disposition Price Reported                                           $    278,000,000.00
Average Net IRR Reported                                                                18.23%
Average Equity Multiple Reported                                                          1.66x

Acquisition
Estimated Load on Equity                                            13% $  10,400,000.00
Estimated Equity Available to Invest                                    $  69,600,000.00
Total Purchase Price Reported                                           $ 205,000,000.00
Estimated Purchase Fees & Costs                                      5% $  10,250,000.00
Estimated Gross Purchase Price                                          $ 215,250,000.00
Estimated Total Acquisition Debt                                        $ 145,650,000.00
Estimated Loan to Value at Acquisition                                            71.05%

Disposition
Estimated Selling Fees & Costs                                       6% $        16,680,000.00
Estimated Loan to Value % Total Debt at Close                       69% $       141,450,000.00
Total Disposition Price Reported                                        $       278,000,000.00
Estimated Gross Equity on Sale                                          $       119,870,000.00
Estimated Gross Equity Multiple                                                           1.50x
Estimated Gross Profit on Sale                                             $     39,870,000.00
Estimated Distributions Annual                                       8% $         6,400,000.00
Estimated Distributions over average fund life                       3.5 $       22,400,000.00
Estimated Distribution Multiple                                                           0.28x
Estimated Gross Equity Multiple: Sales + Distributions                                    1.78x
Estimated Gross Profit: Sales + Distributions                              $     62,270,000.00
First Hurdle Rate                                                    8%
Annual Return to get to 8%                                                 $      6,400,000.00
Average Fund Life                                                    3.5
Total Return to get to 8% Pref                                             $     22,400,000.00
Second Hurdle Rate                                                  16%
Annual Return to get to 16%                                                $     12,800,000.00
Average Fund Life                                                    3.5
Total Return to Get to 16% Pref                                            $     44,800,000.00
Subject to 20% Promote                                                     $     22,400,000.00
20% Promote Estimated                                                      $      4,480,000.00
Subject to 30% Promote                                                     $     17,470,000.00
30% Promote Estimated                                                      $      5,241,000.00
Estimated Total promote                                                    $      9,721,000.00
Estimated Gross Equity Minus Promote                                       $     52,549,000.00
Estimated Invested Equity Plus Net Return                                  $    132,549,000.00
Total Equity Raised in Fund ‐ Reported                                     $     80,000,000.00
Net Equity Multiple Reported                                                              1.66x
